
In an action (1) for a judgment declaring null and void (a) two resolutions adopted by the Town Board of the Town of Oyster Bay by which certain real property abutting appellant’s land in the village of Hieksville was rezoned from residential to business and (b) a special permit granted to respondent Rayeo Holding Corp. to erect thereon a professional building, and (2) for other relief, the appeal is from a judgment entered after trial before an Official Referee, to whom the action was referred to hear and determine, dismissing the *995complaint on tlie merits. Judgment unanimously affirmed, with costs. No opinion.
Present —Wenzel, Acting P. J., Beldoek, Murphy, Ughetta and Hallinan, JJ.
